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Edward B. Schwartz
202 429 6220
eschwartz@steptoe.com

1330 Connecticut Avenue, NW
Washington, DC 20036-1795
202 429 3000 main
www.steptoe.com




November 27, 2017

Donna Curling (dcurling0531@gmail.com)

Ricardo Davis (ricardodavis@gaconstitutionparty.org)

Laura Digges (lmdigges@gmail.com)

William Digges, III (wdigges@gmail.com)

Donna Price (donnapricestudio@gmail.com)

Jeffrey Schoenberg (schoenbergjhe@gmail.com)

Edward Curtis Terry (ted.terry.mayor@gmail.com)

Re:     Notice of Withdrawal from Curling v. Kemp, 1:17-cv-02989-AT

Dear all:

        As you know, Steptoe & Johnson LLP represented jointly each of the plaintiffs in
Curling v. Kemp, Case No. 1:17-cv-02989-AT (N.D. Ga.) (“Case”). As you also know, on
November 3, 2017, we moved to withdraw from the representation of one of the plaintiffs,
Coalition for Good Governance (“CGG”) because, among other things, we could no longer work
constructively with Marilyn Marks, the Executive Director of CGG, and because the objectives
of CGG and other plaintiffs differ. On behalf of CGG, Ms. Marks has declined to consent to our
continuing representation of the remaining plaintiffs in the action. Therefore, under applicable
Georgia rules, we intend to withdraw from the representation of all plaintiffs.

        This letter provides you the detailed notice of withdrawal under Local Rule 83.1(E).

                                      we provide you here with all of the information
referenced under Local Rule 83.1(E). We will file a withdrawal motion on December 14, 2017,
if not substituted before then.

                   the Case is pending before Judge Totenberg and her clerk is Amy
McConochie, who can be reached at (404) 215-1437, in the Richard B. Russell Federal Building,
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Plaintiffs
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2211 United States Courthouse, 75 Ted Turner Drive, SW, Atlanta, GA 30303-3309.
          opposing counsel in this Case are:

              Roy E. Barnes                                 John F. Salter
          Barnes Law Group, LLC                         Barnes Law Group, LLC
             31 Atlanta Street                             31 Atlanta Street
            Marietta, GA 30060                            Marietta, GA 30060
               770-227-6375                                  770-227-6375


       Robert Sparks Highsmith, Jr.                          Cheryl Ringer
          Holland & Knight LLP                      Office of Fulton County Attorney
       1180 W. Peachtree Street NW                  Fulton County Government Center
                Suite 1800                                141 Pryor Street, S.W.
            Atlanta, GA 30309                                  Suite 4038
              404-898-8012                                 Atlanta, GA 30303
                                                              404-612-0263

             David R. Lowman                             Kaye Woodard Burwell
       Fulton County Attorney's Office             Office of the Fulton County Attorney
            141 Pryor Street, SW                                 Suite 4038
                 Suite 4038                               141 Pryor Street, S.W.
             Atlanta, GA 30303                              Atlanta, GA 30303
               404-612-0246                                    404-612-0262

          Bennett Davis Bryan                           Daniel Walter White
  DeKalb County District Attorney's Office          Haynie Litchfield Crane & White
        Assistant County Attorney                      222 Washington Avenue
                5th Floor                                 Marietta, GA 30060
          1300 Commerce Drive                                770-422-8900
           Decatur, GA 30030
              404-371-3011

              Anne Ware Lewis                               Barclay Hendrix
     Strickland Brockington Lewis, LLP             Strickland Brockington Lewis, LLP
          1170 Peachtree Street, NE                     1170 Peachtree Street, NE
      Suite 2200, Midtown Prosceium                 Suite 2200, Midtown Prosceium
           Atlanta, GA 30309-7200                        Atlanta, GA 30309-7200
                678-347-2200                                  678-374-2200
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Plaintiffs
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             Frank B. Strickland                             Vincent Robert Russo, Jr.
      Strickland Brockington Lewis, LLP                Robbins Ross Alloy Belinfante Littlefield,
           1170 Peachtree Street, NE                                  LLC -Atl
       Suite 2200, Midtown Prosceium                                 Suite 1120
            Atlanta, GA 30309-7200                            999 Peachtree Street, N.E.
                 678-347-2200                                    Atlanta, GA 30309
                                                                   404-856-3260

The Case is pending and will remain in the United States District Court for the Northern District
of Georgia, Atlanta Division after the termination of Steptoe’s relationship with the plaintiffs.


You have the burden of keeping the court informed respecting where notices, pleadings, or other
papers may be served—whether to Holcomb + Ward, another counsel, or both. You also have
the obligation to prepare for trial or have counsel to prepare for trial. If you fail or refuse to meet
these burdens, you may suffer adverse consequences. The deadline for the close of all discovery
in this case is January 20, 2018.1

        Upon our withdrawal, to the extent that you do not want to receive service through
counsel Holcomb + Ward or if Holcomb + Ward no longer serves as your counsel and no other
counsel represents you, then we will advise that service of notices may be made upon you.
                  under the Local Rules, if you are a corporation, corporations may only be
represented in court by an attorney. An attorney must sign all pleadings submitted to the court
and a corporate officer may not represent the corporation in court unless that officer is also an
attorney licensed to practice law in Georgia. Failure to comply with this rule could result in a
default being entered against the corporate party.




                                                       Sincerely,


                                                       Edward B. Schwartz

cc:    Holcomb + Ward
       CGG

       1
        The court has not entered a scheduling order in this case, but Judge Totenberg set
January 20, 2018 as the discovery deadline during a telephonic conference.
